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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

Angelo Lee Clark,                                  )
                                                   )
              Plaintiff,                           )
                                                   )    Case No. 17-cv-00066-RGA
       v.                                          )
                                                   )    JURY TRIAL DEMANDED
Robert M. Coupe, Perry Phelps, Dana Metzger,       )
David Pierce, Major Jeffrey Carrothers, Captain    )
Burton, Captain Rispoli, Captain Willy, Dr.        )
William Ray Lynch, Dr. Paola Muñoz, Dr. David      )
Yunis, Rhonda Montgomery, Susan Mumford,           )
Stephanie D. Johnson,                              )
                                                   )
            Defendants.                            )
_______________________________________            )

                       PLAINTIFF’S FIRST AMENDED COMPLAINT

                                   NATURE OF ACTION

       1.     This action seeks damages and injunctive relief for the cruel and unusual

punishment of Plaintiff Angelo Lee Clark (“Clark”) in Delaware prisons. Mr. Clark has been

diagnosed with serious mental illness (“SMI”), including manic depression and paranoid

schizophrenia. The Defendants frequently confined Clark in solitary confinement with no due

process in retaliation for Mr. Clark’s SMI, loud voice, or minor rule infractions, without

providing proper medical and mental health treatment for serious medical and mental health

needs. In so doing, Defendants intentionally or with deliberate indifference inflicted cruel and

unusual punishment on Mr. Clark, denied him minimum appropriate care, and significantly

exacerbated his SMI.

       2.     Defendants’ conduct violates Mr. Clark’s rights under the First, Fifth, and Eighth

Amendment of the United States Constitution, as applied through the Due Process Clause of the

Fourteenth Amendment.
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        3.      Defendants operate the James T. Vaughn Correctional Center (“JTVCC”).

        4.      On information and belief, during the past few years at JTVCC’s Secure Housing

Unit (“SHU”), approximately 300 prisoners with serious mental illnesses (“SMI”), including Mr.

Clark, were locked in extremely small cells 24 hours a day and only permitted outside their cell for

one hour every other day. Mr. Clark and the other SMI prisoners in the SHU are completely

isolated, denied adequate medical and mental health care, and prohibited from working,

participating in educational or rehabilitative programs, or attending religious services.

        5.      Defendants are well-aware of Mr. Clark’s serious mental illness. He has been

treated for schizophrenia and bipolar disorder while incarcerated in DOC facilities since at least

2006, if not earlier.

        6.      Defendants were aware that, because Mr. Clark was seriously mentally ill, placing

him in solitary confinement and denying him proper mental health treatment would cause Mr.

Clark to be severely and adversely affected.          Defendants intentionally caused, or were

deliberately indifferent to the substantial risk of, serious harm to Mr. Clark from their conduct.

        7.      Defendants’ practice of housing Mr. Clark in the SHU as a substitute for mental

health treatment inflicted severe mental and emotional distress and exacerbated Mr. Clark’s

serious mental illness by depriving him of the opportunity to engage in normal human

interaction, such as talking with or seeing others, working, participating in educational or

rehabilitative programs, or attending religious services, which promote mental health and

wellbeing.

        8.      The doors of the cells where Mr. Clark was held in solitary confinement are

essentially solid, with a single, 4-inch-wide window. Correctional officers deliver meals to

prisoners by sliding the food through slots in the doors that are opened briefly for that purpose.



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Lights are on for all but approximately six hours per day, and few visitors or phone calls are

permitted.

       9.      While Mr. Clark was in the SHU, Defendants deprived Mr. Clark of any

meaningful mental health treatment and given medications mental health staff knew caused

serious allergic reactions and increased hallucinations. He was treated infrequently by a mental

health provider, going weeks and months without any meaningful interaction with a medical

health provider, and he had no mental health counselling.

       10.     According to Keramet Reiter, a University of California Irvine professor and

expert on solitary confinement, there is a growing body of data that these types of conditions

cause psychological harm and even brain shrinkage. Hallucinations, panic attacks, paranoia and

nightmares are all commonly reported, says Reiter. Reiter’s research shows that there can be an

impact within only a few days, and that 15 days is the “outer bounds” of what is tolerable.

       11.     Mr. Clark was housed in solitary confinement at JTVCC for a period of 7 months

from January–August 2016. He was previously housed in solitary confinement at JTVCC for a

period of 15 days in 2015. He was also housed in solitary confinement at JTVCC for a period of

nearly six months in 2012, and for various other lengthy intervals prior to that.

       12.     As a result of consistently being housed for long periods of time in the SHU, Mr.

Clark experienced increased hallucinations, paranoia, self-mutilation, sleeplessness, and

nightmares. Prison officials frequently regarded these manifestations of disease as prison rule

infractions, which resulted in additional time in solitary confinement and further limitations on

privileges, such as reduced phone time and visitation privileges.




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        13.    The result was a vicious cycle in which Mr. Clark, because of his mental illness,

was trapped in a sequence of isolation and punishment, resulting in further deterioration of his

mental condition and deprivation of adequate mental health treatment.

        14.    Defendants used solitary confinement in the SHU as a substitute for providing

Mr. Clark with proper mental healthcare, and Defendants failed to take other reasonable

measures to ameliorate the risk of serious harm to Mr. Clark. Defendants had knowledge of the

risks these deficiencies pose to Mr. Clark’s mental illness. Nevertheless, they permitted them to

continue.

        15.    Plaintiff seeks a declaration that Defendants are violating the Eighth Amendment

of the U.S. Constitution, a permanent injunction requiring Defendants to cease violating the

Eighth Amendment rights and Article I, Section 11 rights of Mr. Clark and to protect him against

dangerous and unconstitutional conditions of confinement. Plaintiff also seeks damages.

                                 JURISDICTION AND VENUE

        16.    This Court has jurisdiction over these claims pursuant to 28 U.S.C. §§ 1331 and

1343.

        17.    Plaintiff’s claims are authorized by 42 U.S.C. § 1983, 42 U.S.C. §§ 10801 et seq.,

and 28 U.S.C. §§ 2201 and 2202.

        18.    Venue is appropriate in this District pursuant to 28 U.S.C. § 1391(b) because

Plaintiff’s residence, Defendants, and Defendants’ principal offices are located in this District,

and all claims alleged occurred in this District.

                                          THE PARTIES

        19.    Mr. Clark is a citizen of the United States and the State of Delaware, and at all

times relevant to the events described in the First Amended Complaint (“FAC”), has been in the

custody of the DOC. Mr. Clark has been in the custody of DOC since 2004.

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       20.    Defendant, Robert M. Coupe (“Coupe”), was the Commissioner of the Delaware

Department of Correction until January 2017, and a state actor for purposes of the Fourteenth

Amendment.

       21.    Defendant Perry Phelps (“Phelps”) is the Commissioner of the Delaware

Department of Correction and a state actor for purposes of the Fourteenth Amendment.

       22.    Defendant Dana Metzger (“Metzger”) is Warden of James T. Vaughan

Correctional Center and a state actor for purposes of the Fourteenth Amendment.

       23.    Defendant David Pierce (“Pierce”) was Warden of James T. Vaughan

Correctional Center until February 2017, and a state actor for purposes of the Fourteenth

Amendment.

       24.    Defendant Major Carouthers (“Carouthers”) at all times relevant to this First

Amended Complaint was employed at JTVCC and a state actor for purposes of the Fourteenth

Amendment.

       25.    Defendant Captain Burton (“Burton”) at all times relevant to this First Amended

Complaint was employed at JTVCC and a state actor for purposes of the Fourteenth

Amendment.

       26.    Defendant Captain Rispoli (“Rispoli”) at all times relevant to this First Amended

Complaint was employed at JTVCC and a state actor for purposes of the Fourteenth

Amendment.

       27.    Defendant Captain Willy (“Willy”) at all times relevant to this First Amended

Complaint was employed at JTVCC and a state actor for purposes of the Fourteenth

Amendment.




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       28.    Defendant Dr. Edward “Ray” Lynch (“Lynch”) is head of medical services at

James T. Vaughan Correctional Center and a state actor for purposes of the Fourteenth

Amendment.

       29.    Defendant Dr. Paola Muñoz (“Muñoz”) is a psychologist who provides medical

care to inmates at Warden of James T. Vaughan Correctional Center and a state actor for

purposes of the Fourteenth Amendment.

       30.    Defendant Dr. David Yunis (“Yunis”) is a psychiatrist who provides medical care

to inmates at Warden of James T. Vaughan Correctional Center and a state actor for purposes of

the Fourteenth Amendment

       31.    Defendant Rhonda Montgomery (“Montgomery”) is a nurse practitioner who

provides medical care to inmates at James T. Vaughan Correctional Center and a state actor for

purposes of the Fourteenth Amendment.

       32.    Defendant Susan Mumford (“Mumford”) is a nurse practitioner who provides

medical care to inmates at James T. Vaughan Correctional Center and a state actor for purposes

of the Fourteenth Amendment.

       33.    Defendant Stephanie D. Johnson (“Johnson”) is a nurse practitioner who provides

medical care to inmates at James T. Vaughan Correctional Center and a state actor for purposes

of the Fourteenth Amendment.

       34.    Coupe, Phelps, Pierce, Metzger, Carouthers, Burton, Risploi, and Willy are

collectively referred to herein as the “DOC defendants.”

       35.    Lynch, Muñoz, Yunis, Montgomery, Mumford, and Johnson are collectively

referred to herein as the “Medical Provider defendants.”




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       36.     Defendants are responsible for correcting and compensating Plaintiff for the

constitutional violations described in this FAC.

                                             FACTS

                A. In Solitary Confinement, Mr. Clark Was Subjected To Extreme
                   Isolation And Grossly Inadequate Mental Healthcare.

       37.     Although Defendants are responsible for the health and wellbeing of a significant

number of prisoners with mental health issues, they failed to provide meaningful mental health

treatment to Mr. Clark, and instead isolated him in solitary confinement in conditions of extreme

social isolation and environmental deprivation in retaliation for his SMI, speaking in a loud voice,

or possible minor infractions. This continued isolation and deprivation of medical treatment

exacerbated Mr. Clark’s mental health illness, inflicted severe emotional and mental distress,

worsened his physical health, and caused physical injury, including fear, insomnia, anxiety,

depression, increased mood swings and hallucination, and self-mutilation.

       38.     Mr. Clark was kept in the SHU alone, in a small cell for 24 hours a day, except for

one hour three times per week.

       39.     SHU cells are approximately 11’ x 8’. They have two four-inch-wide windows,

one of which allows a very constricted view of the hall outside the cell and no other view. The

other allows a narrow glimpse outdoors, which lets in little, if any, natural light. The cells

contain a sink, a toilet, and little furniture. Prisoners are not able to control the lights, which

remain lit from approximately 6:00 a.m. through 11:30 p.m., which made it difficult for Mr.

Clark to sleep and further contributed to his disorientation and mental deterioration.

       40.     No prisoner in solitary confinement is permitted more than four telephone calls

and four visits per month.




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       41.     While in the SHU, Mr. Clark had no access to therapy sessions or counselling,

and he only saw a mental health provider who evaluated his medications once every few months.

       42.     Mr. Clark, like others with serious mental illness, needs psychosocial

rehabilitation services, such as frequent individual and group therapy sessions, and structured

out-of-cell activities designed to decrease isolation, increase social interaction, increase treatment

and medication compliance, and decrease psychiatric symptoms.             These services were not

provided to Mr. Clark in solitary confinement.

       43.     The prevalence of suicide and self-harm in solitary confinement is pronounced. It

is not unusual for prisoners with serious mental illness in solitary confinement to swallow razors,

smash their heads into walls, compulsively cut their flesh, or try to hang themselves.

       44.     The devastating effects of conditions of extreme social isolation and

environmental deprivation like those in Delaware’s solitary confinement units are well known to

Defendants.    The NCCHC Standards for Mental Health Services in Correction Facilities,

published in 2008, directs that “[i]nmates who are seriously ill should not be confined under

conditions of extreme isolation.” The NCCHC further notes that:

               Even those without a prior history of mental illness may
               experience a deterioration in mental health, experiencing anxiety,
               depression, anger, diminished impulse control, paranoia, visual and
               auditory hallucinations, cognitive disturbances, obsessive thoughts,
               paranoia, hypersensitivity to stimuli, posttraumautic stress
               disorder, self-harm, suicide, and/or psychosis. Some of these
               effects may persist after release from solitary confinement.
               Moreover, the very nature of prolonged social isolation is
               antithetical to the goals of rehabilitation and social integration.

       45.     Similarly, the American Psychiatric Association’s (“APA”) Position Statement on

Segregation of Prisoners with Mental Illness (“Position Statement”) finds that prolonged

segregation should be avoided for prisoners with serious mental illness due to the potential for

harm to such prisoners. The APA Position Statement further states that if prisoners with serious
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mental illnesses are placed in isolation, appropriate clinical supports and out-of-cell time must be

provided.



       46.     Defendants’ actions caused and continue to cause Mr. Clark severe emotional and

mental distress and physical injury, as noted above.

                B. Defendants’ Policies And Practices Inflicted Severe Harm On Mr. Clark

                        (i)    Defendants deliberately placed Mr. Clark in solitary confinement
                               rather than treating his mental illness.

       47.     Defendants failed to take reasonable action to prevent Mr. Clark from being

placed in solitary confinement and did not properly evaluate him before such placement.

       48.     In 2012, Defendants placed Mr. Clark in the SHU for at least six consecutive

weeks because of his mental illness.

       49.     In 2015, Defendants placed Mr. Clark in the SHU for at least two consecutive

weeks because of his mental illness.

       50.     Most recently, Defendants placed Mr. Clark in the SHU on or around January 22,

2016, following an incident at meal time where a younger inmate punched Mr. Clark in his

pacemaker. The other inmate was put back in his cell, but Mr. Clark was put in the SHU for the

next seven months, until on or around August 18, 2016.

       51.     In January 2016, when he was placed in the SHU, Mr. Clark had low “points”

because he had good prior conduct and had no security classification meriting confinement in the

SHU, let alone seven months in solitary confinement.

       52.     The warden has the power to control and veto any decision on status, including

housing status, for an inmate. The DOC Commissioner controls overall policy and management




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of the prison, including the practice of housing Mr. Clark in the SHU in response to and

retaliation for using a loud voice, minor infractions, and manifestations of his mental illness.

       53.     The DOC Defendants would frequently sanction Mr. Clark merely for talking in a

loud voice, regardless of the content of his speech or his intent, and with knowledge that Mr.

Clarks has a hearing problem.

       54.     Prior to placing Mr. Clark in the SHU, Defendants engaged in no due process or

any procedure giving Mr. Clark an opportunity to be heard or consult with counsel.

       55.     Rather than providing such due process or providing appropriate mental health

treatment to Mr. Clark, Defendants retaliated against Mr. Clark and placed him in the SHU.

Defendants failed to provide any evaluation, counselling, or mental health care while Mr. Clark

was in the SHU, and continued to retaliate against him due to his mental illness and requests for

due process while he was in the SHU.

       56.     While in the SHU, Mr. Clark repeatedly requested that he be given mental health

treatment, and that he be transferred to a facility capable of providing him with treatment.

       57.     When Mr. Clark would report his need for better mental health treatment or

question why he was kept in the SHU for months and months, he was retaliated against with

longer stays in the SHU and being placed in the “naked room.” The “naked room” is an isolation

cell that contains only a commode and single mattress on the floor. Prisoners are kept in those

cells with only an open smock for clothing.

       58.     In the “naked room,” prisoners are not provided any sort of effective mental

health treatment. Mr. Clark was thus given an unacceptable choice – suffer from grossly

inadequate mental health treatment in silence, or express the need for mental health treatment

and risk being placed in the naked room or being assigned more time in isolation.



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       59.     Defendants treated Mr. Clark’s repeated attempts to obtain mental health treatment

and due process as disciplinary violations and responded by lengthening his time in the SHU.

                        (ii)   Defendants deprived Mr. Clark of minimally adequate health
                               care.

       60.     The State of Delaware exercises its right to punish Mr. Clark by incarceration and

denying him a venue independent of the State to obtain needed medical care.

       61.     It is only those health care providers authorized by the State to whom Mr. Clark

may turn for medical care.

       62.     Defendants with deliberate indifference ignored Mr. Clark’s need for and denied

his requests for adequate counselling and proper medication, causing Mr. Clark serious harm.

       63.     The Medical Provider defendants consistently gave Mr. Clark deleterious

medications and failed to give Mr. Clark any counselling for extended periods of time, despite

his diagnoses of schizophrenia and manic depression.

       64.     The only medical providers Mr. Clark encountered while in the SHU, were: (1)

Montgomery, Mumford, and Johnson, who administered medicines (including Zyprexa, which

caused Mr. Clark to experience pronounced hallucinations and adverse and allergic side effects,

such as paralysis and intense pain in his legs) through by sliding them through slots in the doors

that are opened briefly for that purpose; and (2) Yunis who shouted through the glass to Mr.

Clark every few months concerning his medications.

       65.     The Medical Provider defendants continue to administer Zyprexa to Mr. Clark

despite their knowledge that he is allergic to the drug and that it continues to cause significant

adverse side effects.

       66.     The deficiency in professional care resulted in further deterioration of Mr. Clark’s

mental health, including an increase in depression, hallucinations, and self-mutilation.

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        67.    Defendants kept Mr. Clark in solitary confinement for months at a time, inflicting

cruel and unusual punishment, even though it is well known to corrections and medical

professionals throughout the United States—as the National Commission on Correctional Health

Care (“NCCHC”) and APA standards demonstrate—that extended periods of solitary

confinement exacerbate the symptoms of mental illness for prisoners and result in further

deterioration of their mental health.

        68.    Defendants’ policy is that SHU inmates must “earn their way out of the SHU by

exhibiting appropriate behavior, complying with institutional rules and participating in treatment,

education, and/or work programs.”

        69.    While in isolation, Mr. Clark would have to yell and bang on the door to get the

attention of DOC officials. Defendants reacted by increasing the severity or length of Mr. Clark’

isolation.

        70.    Defendants considered Mr. Clark’s manifestations of mental illness and misery at

being in the SHU, such as yelling, difficulty “calming down,” or banging on cell doors to be

disciplinary incidents, prolonging Mr. Clark’s unwarranted time in solitary confinement

                        (iii)   Defendants do not properly evaluate mental illness or distinguish
                                misconduct from manifestations of mental illness.

        71.    An essential element of the treatment of prisoners with mental illness is a review

by mental health staff of a prisoner and his or her mental health records to determine whether the

prisoner’s existing mental health needs contraindicate placement in solitary confinement or

require other accommodation.

        72.    DOC’s Policy Manual requires it to: review a prisoner’s medical record prior to or

within one hour of placement in solitary confinement for mental health conditions; identify those

prisoners whose conditions would be contrary to confinement in segregation, including prisoners


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with serious mental illness; refer immediately to mental health personnel for follow-up prisoners

who have received any treatment in the past five years for serious mental illness, prior to

placement in solitary confinement; conduct an assessment of the prisoner in a private setting

within 24 hours of a mentally ill prisoner’s placement in solitary confinement; and after

completing the assessment, review the disciplinary charges against the prisoner and evaluate

what role the prisoner’s mental illness played in his or her conduct.

       73.     In deciding to place Mr. Clark, a mentally ill prisoner, in solitary confinement for

alleged rule violations, Defendants did not adhere to DOC policy, failed to consider sufficiently

the role mental illness played in causing the alleged rule violations, and failed to consider

sufficiently the role mental illness in determining the appropriateness of sanctions or the

conditions or duration of the sanctions.

       74.     DOC’s Policy Manual also requires it to monitor prisoners in the SHU with

mental illness daily and to evaluate those prisoners three times per week. Monitoring requires, at

a minimum, “verbally offering the patient a sick call slip and visually observing whether the

patient requires any emergent, urgent or routine health care.” Evaluation must be performed by

mental health personnel, and includes, at a minimum, “a face to face encounter where the

clinician speaks to the patient, observes the patient’s mental health condition and verifies the

patient is receiving any prescribed psychotropic medication.” Evaluation should also include “an

assessment of potential decompensation and assessment of appropriate treatment and

placement.”

       75.     Defendants failed to monitor Mr. Clark in the SHU on a daily basis in accordance

with DOC’s Policy Manual, and their “evaluation” of Mr. Clark fell below the minimal threshold

defined in the DOC Policy Manual.



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       76.     Cell-front visits do not comply with the privacy standards set forth in DOC’s

Policy Manual, which require that healthcare be provided “in a manner and location that

promotes confidentiality” and mandate that “clinical encounters and discussions occur in private,

without being observed or overheard.”     Nor do such visits conform to the privacy requirements

of the Health Insurance Portability Accountability Act of 1996 (“HIPAA”). Such visits do not

constitute meaningful mental health treatment, as DOC recognizes.

       77.     The DOC defendants made deliberate decisions in conjunction with the Medical

Provider defendants to deny Mr. Clark even minimum mental health care.

       78.     Defendants’ policy and practice of placing and keeping SMI prisoners like Mr.

Clark in the SHU because of their mental illness defeats the goals of proper mental health

treatment, rehabilitation, and successful reintegration into society upon release from prison.

                        (iv)   Defendants did not provide adequate housing options for Mr.
                               Clark.

       79.     There is a specialized unit for prisoners with mental illness who are deemed

incapable of remaining in other maximum security housing, referred to as the Special Needs Unit

(“SNU”). Some of the cells in that unit are and were vacant at the relevant times, and Mr. Clark

could have been treated there rather than being confined in the SHU in solitary confinement and

deprived of the treatment he needed. Further, Mr. Clark could have been placed in a secure

building at the Delaware Psychiatric Center (“DPC”), which can provide him with appropriate

treatment, rather than suffering needlessly in the SHU.

       80.     The DOC and Medical Provider defendants denied Mr. Clark’s requests for such

alternative housing with deliberate indifference to the serious harm their denials had on his

physical and mental health, and the resulting lasting damage to his ability to successfully

reintegrate into society upon his scheduled release from prison in 2019.


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                   C. Defendants were aware of and approved of the practice of housing Mr.
                      Clark in the SHU in retaliation for conduct related to his SMI and other
                      protected conduct.

        81.        All defendants are and were aware of Mr. Clark’s SMI by virtue of the Mr.

Clark’s treatment for SMI while under the care of the DOC since at least 2006.

        82.        In 2015, the year before Mr. Clark was locked in the SHU for 7 months, Delaware

state Rep. J.J. Johnson (“Johnson”) who heads Delaware’s House of Representatives Corrections

Committee, introduced legislation to dramatically reform the DOC’s abusive use of solitary

confinement. The bill would have banned the DOC from using solitary confinement as a

punishment for disciplinary violations for more than 15 consecutive days or 20 days out of any

60-day period. It would have also prohibited placing the mentally ill or juveniles in solitary

confinement.

        83.        To avoid having Johnson push forward such legislation, the DOC agreed to a

study conducted by the American Correctional Association (“ACA”) on DOC’s abusive use of

solitary confinement to punish and control SMI prisoners. The ACA released the results of the

study in March 2016, two months into Mr. Clark’s seven-month stay in the SHU and five months

before he was released from the SHU.

        84.        The study recommended that DOC develop more robust mental health programs,

allow all prisoners outside their cells for at least an hour a day (and not count time for a shower

in that hour), provide better, more consistent training to staff than the existing four-hour initial

training, train staff on administration of medication, ensure that mental illness is not exacerbated

by placing inmates in the SHU, and develop policy and procedure to provide more transparency

and consistency in classifications, including giving less authority to the warden to override

classifications.



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       85.    In 2006, the U.S. Department of Justice entered into a Memorandum Agreement

(“Agreement”) with the State of Delaware to attempt to address violations of the constitutional

rights of inmates in the Delaware prison system due to seriously deficient medical care, mental

health care, and suicide prevention. Mr. Clark provided assistance and information in the

investigation (“DOJ Investigation”) and proceeding related to the Agreement.

       86.    This study, the DOJ’s Investigation, other prior lawsuits, and Defendants

familiarity with their own policy and practice gave Defendants notice of the extreme adverse

effects of the DOC’s practice of holding Mr. Clark and other SMI inmates in solitary

confinement rather than treating their SMI.

       87.    As the NCCHC notes, “federal courts have repeatedly found the solitary

confinement of the mentally ill to be unconstitutional, and in 2012, the [APA] adopted a policy

opposing the ‘prolonged segregation of prisoners with serious mental illness, which it defined as

longer than 3 to 4 weeks.”

       88.    Defendants Coupe and Phelps are statutorily authorized and responsible for the

oversight, operation, and administration of Delaware’s correctional system and the Delaware

Prisons. At all times relevant to this FAC, they had full and active charge of the DOC and the

JTVCC, and its facilities and services. A DOC Commissioner is the DOC’s chief executive and

administrative officer. Coupe was and Phelps is responsible for the organization, maintenance,

control, and operation of the DOC, the administration, supervision, operation, management, and

control of the Delaware Prisons, and the custody, study, training, treatment, correction, and

rehabilitation of all prisoners in DOC custody. 11 Del. C. §§ 6516, 6517.

       89.    Instead of treating Mr. Clark and other mentally ill prisoners for their SMI,

Defendants, including Coupe and Phelps, sanctioned and adhered to a practice of housing



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hundreds of SMI prisoners, including Mr. Clark, in the SHU because of and in retaliation for

conduct related to their SMI. Defendant Coupe had knowledge of and responsibility for DOC’s

placement of Mr. Clark in the SHU and his 7-month-long stay there during 2015.

         90.   Defendants Coupe and Phelps, individually or in their official capacities,

intentionally or with deliberate indifference inflicted cruel and unusual punishment on Mr. Clark,

in violation of his constitutional rights. Coupe and Phelps, individually or in their official

capacities, intentionally or with deliberate indifference caused serious harm and significantly

worsened the symptoms of Mr. Clark’s SMI by disciplining him and retaliating against him for

conduct related to his SMI, or by authorizing, approving of, and directing this treatment of Mr.

Clark.

         91.   Coupe and Phelps, individually or in their official capacities, placed and held Mr.

Clark for 7 months in the SHU and denied him mental health treatment, or authorized, approved

of, or directed this treatment of Mr. Clark. Coupe and Phelps, individually or in their official

capacities, caused Mr. Clark to experience increased hallucinations, panic attacks, paranoia,

nightmares, and self-mutilation.

         92.   Coupe and Phelps, individually or in their official capacities, have the power and

authority to remedy the damage done to Mr. Clark and to prevent such treatment in the future.

         93.   Defendants Pierce and Metzger, individually or in their official capacities, as

wardens, have the power to veto and control all decisions to re-classify an inmate’s status,

including housing status. Pierce made or approved the decision to house Mr. Clark in the SHU

and to continue to house Mr. Clark in the SHU month after month, despite knowledge of, and

indeed because of, Mr. Clark’s serious mental illness.




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        94.      Defendant Pierce participated in the ACA study noted above at least during a site

visit by the ACA in November 2015. The ACA noted that Pierce was not “open to change in

regards to restrictive housing objective and classification concerning the mentally ill,” and that

Pierce several times noted his authority “to over-ride decision on classification and/or mentally

ill treatment decisions.”

        95.      In violation of Mr. Clark’s constitutional rights, Defendants Pierce and Metzger,

individually or in their official capacities, intentionally or with deliberate indifference inflicted

cruel and unusual punishment on Mr. Clark, and retaliated against him for conduct related to his

SMI, loud voice, or minor infractions. Defendants Pierce and Metzger, individually or in their

official capacities, caused serious harm and significantly worsened the symptoms of Mr. Clark’s

SMI by placing and holding him for 7 months in the SHU and denying him mental health

treatment, or by authorizing, approving of, or directing this abuse of Mr. Clark. Defendants

Pierce and Metzger, individually or in their official capacities, caused Mr. Clark to experience

increased hallucinations, panic attacks, paranoia, nightmares, and self-mutilation.

        96.      Defendants Pierce and Metzger, individually or in their official capacities, have

the power and authority to remedy the damage done to Mr. Clark and to prevent such treatment

in the future.

        97.      Defendants Metzger, Carouthers, Burton, Risploi, and Willy, with the

collaboration of Pierce, Metzger, and Coupe and the Medical Provider defendants, made

decisions to place and keep Mr. Clark in the SHU for exorbitant periods of time. Metzger,

Carouthers, Burton, Risploi, and Willy, individually or in their official capacities, disciplined Mr.

Clark and retaliated against him for conduct related to his SMI, loud voice, or minor infractions,

and intentionally or with deliberate indifference inflicted cruel and unusual punishment, in



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violation of Mr. Clark’s constitutional rights. These defendants, individually or in their official

capacities, with the approval and knowledge of defendants Coupe, Pierce, and Metzger, caused

serious harm and significantly worsened the symptoms of Mr. Clark’s SMI by placing him for

lengthy periods of time in the SHU and denying him mental health treatment, causing him to

experience increased hallucinations, panic attacks, paranoia, nightmares, and self-mutilation.

       98.     Metzger, Carouthers, Burton, Risploi, and Willy, individually or in their official

capacities, have the power and authority to remedy the damage done to Mr. Clark and to prevent

such treatment in the future.

       99.     Lynch, individually or in his official capacity, supervised the other Medical

Provider defendants, advised them on their deleterious treatment of Clark, and participated in the

decisions to keep Mr. Clark in the SHU for long periods of time and to continue administering

seriously harmful medications to Mr. Clark, in collaboration with the other Medical Provider

defendants and DOC defendants.

       100.    Muñoz, individually and in her official capacity, supervised the other Medical

Provider defendants, advised them and participates in the deleterious treatment of Clark, and

participated in the decisions to keep Mr. Clark in the SHU for long periods of time and to

continue administering seriously harmful medications to Mr. Clark, in collaboration with the

other Medical Provider defendants and DOC defendants.

       101.    Yunis administered and made decisions to continue administering seriously

harmful medications to Mr. Clark, and made decisions to keep him in the SHU for long periods

of time in collaboration with the other Medical Provider defendants and DOC defendants.

       102.    Montgomery administered and made decisions to continue administering

seriously harmful medications to Mr. Clark, and made decisions to keep him in the SHU for long



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periods of time in collaboration with the other Medical Provider defendants and DOC

defendants.

        103.     Mumford administered and made decisions to continue administering seriously

harmful medications to Mr. Clark, and made decisions to keep him in the SHU for long periods

of time in collaboration with the other Medical Provider defendants and DOC defendants.

        104.     Johnson administered and made decisions to continue administering seriously

harmful medications to Mr. Clark, and made decisions to keep him in the SHU for long periods

of time in collaboration with the other Medical Provider defendants and DOC defendants.

        105.     The Medical Provider defendants, individually or in their official capacities, have

the power and authority to remedy the damage done to Mr. Clark and to prevent such treatment

in the future.

                 D. Defendants Know And Are Deliberately Indifferent To The Harm That
                    Their Solitary Confinement Practices Imposed On Mr. Clark.

        106.     Defendants knew and were deliberately indifferent to the fact that Defendants’

practice of housing Mr. Clark in solitary confinement, because and in spite of his SMI, created a

substantial risk of serious harm to him.

        107.     Defendants knew and were deliberately indifferent to the following:

                  a) Placing Mr. Clark, who is SMI, in solitary confinement created a
                     substantial risk of exacerbating mental health symptoms and causing
                     deterioration of his mental health;

                  b) While in solitary confinement, Mr. Clark received no meaningful mental
                     health treatment;

                  c) Lack of counselling and psychological rehabilitation services caused a
                     worsening of Mr. Clark’s symptoms;

                  d) Defendants intolerably increased the duration of Mr. Clark’s incarceration
                     in solitary confinement because Defendants responded to manifestations of
                     serious mental illness or anguish from extreme isolation by Mr. Clark as if
                     they were disciplinary violations;
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                e) Defendants retaliated against Mr. Clark’s request for mental health
                   treatment and requests for an explanation for his lengthy stay in the SHU
                   by lengthening his time in the SHU and transferring him, or approving his
                   transfer, to the “naked” room;

                f) Defendants do not have a sufficient number of cells in the specialized
                   housing unit designed for mentally ill prisoners at JTVCC for all of the
                   prisoners who need the mental health treatment, and Defendants have
                   knowingly failed to increase the number of those cells;

                g) Defendant Corrections deliberately underbid its contract with DOC with
                   conscious disregard for the severe impact its lack of funding has on the
                   health of Mr. Clark and other prisoners with SMI;

                h) Defendants failed to place Mr. Clark at another housing unit where he
                   could receive mental health care.

       108.    Defendants had the authority and ability to avoid and to correct their practices

described herein by taking reasonable measures but deliberately did not do so, internationally

inflicting extreme emotional and mental distress and lasting harm on Mr. Clark.

       109.    Mr. Clark has served the majority of his sentence, and is scheduled for release in

2019. In addition to the extreme emotional and mental distress and lasting harm to Mr. Clark

outlined above, Defendants cruel and unusual treatment of Mr. Clark has seriously impaired his

ability to reintegrate into society upon his currently scheduled release date.

                        COUNT I – PLACEMENT IN THE SHU
  (Violation Of The Eighth Amendment As Applied Through Due Process Clause Of The
                               Fourteenth Amendment)

       110.    Mr. Clark incorporates by reference the preceding Paragraphs of this FAC.

       111.    The Eighth Amendment, as applied to the states by the Fourteenth Amendment,

prohibits cruel and unusual punishment.

       112.    Defendants’ policies, practices, and procedures systematically violate the Eighth

Amendment rights of Mr. Clark through institutional policies, practices, and procedures that



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place him at substantial risk of serious harm. Such policies, practices, and procedures include,

without limitation:

                 confinement in solitary confinement for exhibiting conduct caused by his mental
                  illness, which poses a substantial risk of serious harm to Mr. Clark;

                 a disciplinary system that fails to adequately consider Mr. Clark’s serious mental
                  illness and the impact of isolation in assessing whether to assign Mr. Clark to or
                  continue to confine him to solitary confinement;

                 maintenance of conditions in solitary confinement that exacerbate Mr. Clark’s
                  serious mental illnesses, including near-constant isolation with little if any human
                  contact, resulting in unnecessary pain and suffering and serious harm to Mr.
                  Clark;

                 failure to provide adequate psychiatric and psychological services, resulting in
                  unnecessary pain and suffering and worsening of Mr. Clark’s mental illness;

                 failure to transfer Mr. Clark to units equipped to treat his mental illness;

                 failure to make available, maintain, and utilize adequate therapeutic alternatives
                  and rehabilitative activity, such as attending religious services, holding a prison
                  job, participating in therapeutic and educational programs, and having sufficient
                  access to visits, telephone, reading material, television and radio, and recreational
                  opportunities.

           113.   Defendants have been made aware of and are deliberately indifferent to the

deprivations suffered by Mr. Clark by virtue of their prior knowledge of Mr. Clark’s mental

illness diagnoses, prior knowledge of the serious mental health implications of long term

confinement in isolation, and Mr. Clark’s repeated requests for adequate treatment for his mental

illness.

           114.   Defendants’ deliberate indifference is the proximate cause of the harm suffered by

Mr. Clark, including pronounced worsening of his symptoms of hallucination, depression, and

self-mutilation.




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          115.   Defendants, acting under color of state law, violated Mr. Clark’s rights,

guaranteed by the Eighth Amendment as applied through the Due Process Clause of the

Fourteenth Amendment, and will continue to violate them if this Court does not grant relief.


               COUNT II – GROSSLY INADEQUATE MEDICAL CARE
  (Violation Of The Eighth Amendment As Applied Through Due Process Clause Of The
                               Fourteenth Amendment)
                            (Medical Provider Defendants)

          116.   The Medical Provider defendants acting under color of state law violated Mr.

Clark’s constitutional rights by misusing their power and demonstrating deliberate indifference

to his serious medical needs and causing substantial deprivation and lasting harm.

          117.   Rather than providing Mr. Clark with the counselling he needs and proper

medication for his SMI, the Medical Provider defendants administered the wrong medications

knowing Mr. Clark was allergic and suffering profound adverse side effects.

          118.   The Medical Provider defendants participated in the decisions to place and keep

Mr. Clark in the SHU for exorbitant periods of time, causing him serious harm as described

herein.

          119.   These defendants also failed to provide any counseling at all while Mr. Clark was

in the SHU and provided grossly inadequate and sporadic counselling when he was not in the

SHU.

          120.   The Medical Provider defendants have been aware of and are deliberately

indifferent to the deprivations suffered by Mr. Clark by virtue of their prior knowledge of Mr.

Clark’s mental illness diagnoses, prior knowledge of the serious mental health implications of

long term confinement in isolation, knowledge of Mr. Clark’s allergies to the medications they

administered, and Mr. Clark’s repeated requests for adequate treatment for his mental illness.



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       121.    The Medical Provider Defendants’ deliberate indifference is the proximate cause

of the harm suffered by Mr. Clark, including pronounced worsening of his symptoms of

hallucination, depression, and self-mutilation.

       122.    The Medical Provider, acting under color of state law, violated Mr. Clark’s rights,

guaranteed by the Eighth Amendment as applied through the Due Process Clause of the

Fourteenth Amendment, and will continue to violate them if this Court does not grant relief.


                                       COUNT III
 Violation of the First and Fifth Amendments (Pursuant to 42 U.S.C. § 1983): Retaliation
        (As Applied Through Due Process Clause Of The Fourteenth Amendment)

       1.      Mr. Clark hereby incorporates by reference the preceding paragraphs of this FAC.

       2.      Defendants violated Mr. Clark’s First and Fifth Amendment rights as applied to

the State through the Fourteenth Amendment by their actions as alleged and described in this

FAC, in retaliating against Mr. Clark and conspiring in and furthering such retaliation for, among

other things, (i) requesting medical treatment, (ii) requesting for explanations of why he was in

the SHU, (iii) mental illness and manifestations thereof, and (iv) providing information and

assistance in the 2006 DOJ Investigation.

                                        COUNT IV
   Violation of the Fifth and Fourteenth Amendment (42 U.S.C. § 1983): Procedural Due
       Process Violation for Placement in Solitary Confinement without Due Process
                                     (DOC Defendants)

       3.      Mr. Clark hereby incorporates by reference the foregoing paragraphs of this FAC.

       4.      The DOC Defendants’ transfer of Mr. Clark to a solitary confinement cell

constitutes an atypical and significant hardship on Mr. Clark.

       5.      The DOC Defendants failed to follow DOC Policy for such a transfer,

contradicting Mr. Clark’s security classification, and providing no explanation for the reasons for



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the transfer or an opportunity for Mr. Clark to be heard or to consult with counsel prior to

additional time in restrictive housing.

       6.      The DOC Defendants’ conduct violates Mr. Clark’s right to due process under the

Fifth and Fourteenth Amendments of the United States Constitution.

                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiff Clark respectfully requests that this Court enter judgment in his favor
and against the Defendants, and that this Court further:

   1. Declare that the acts set forth herein are in violation of Mr. Clark’s rights under the
      Constitution and laws of the United States;

   2. Order appropriate declaratory and injunctive relief, including appropriate orders to stop
      the constitutional violations described above and directing that:

       a. Mr. Clark shall not be confined to the SHU;
       b. If prison officials determine, in consultation with a medical doctor who evaluates Mr.
          Clark at the time and agrees with the officials’ documented determination, that Mr.
          Clark is an immediate danger and needs to be segregated from the general population,
          and there is no reasonable alternative, Mr. Clark shall be placed in a facility, such as
          the SNU or DPC, capable of providing him with proper mental health care as set forth
          in his individual treatment plan;
       c. Mr. Clark shall be given mental health treatment, including regular counseling
          sessions no less than twice a month, in a private setting determined by a medical
          doctor or licensed clinical social worker to be conducive to mental health counselling
          in a manner and location that promotes confidentiality;
       d. Mr. Clark shall have an individual treatment plan that shall be implemented
          regardless of his housing;
       e. Mr. Clark’s individual treatment plan shall include components to remedy the
          extreme damage done to him by DOC’s cruel and unusual punishment of Mr. Clark,
          and shall include a re-entry plan to be implemented beginning in early 2018 to
          prepare Mr. Clark for successful reintegration into society upon his currently
          scheduled release date in 2019;
       f. Mr. Clark’s medications shall be evaluated by a medical doctor in consultation with
          Mr. Clark in a private setting no less than every three months;
       g. Mr. Clark shall have no less than three hours per day outside his cell regardless of his
          housing situation;

   3. award Mr. Clark compensatory and punitive damages;

   4. award Mr. Clark attorneys’ fees, expenses, and the costs associated with this action under
      42 U.S.C. § 1988 and as otherwise allowed by law; and

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    5. grant Mr. Clark any other relief that this Court deems just and proper.

Mr. Clark requests a jury trial for all issues so triable.

Dated: January 12, 2018                         Respectfully submitted,

                                                BARNES & THORNBURG LLP

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